       Case 1:21-cr-00382-PLF        Document 156        Filed 09/13/24     Page 1 of 19




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
              v.                            :       Case No. 1:21-cr-382 (PLF)
                                            :
CHRISTOPHER WARNAGIRIS,                     :
                                            :
                      Defendant.            :

   GOVERNMENT’S OPPOSITION TO DEFENDANT’S FISCHER MOTIONS AND
           GOVERNMENT’S MOTION TO REOPEN EVIDENCE

       Now comes the government to submit this opposition to the defendant’s three motions

stemming from the Supreme Court’s recent decision in United States v. Fischer, 603 U.S. ----, 144

S.Ct. 2176 (2024). ECF Nos. 152, 153, 154. Rather than ruling on the defendant’s renewed Rule

29 motion, ECF No. 153, the government respectfully moves the Court to reopen the evidence in

this case to allow the parties to submit new evidence in response to Fischer. The Court should

deny the defendant’s motion to dismiss, ECF No. 152, as untimely because of the absolute

prejudice the government would face in the event of an adverse decision. In the alternative, the

Court should deny the motion on the merits, because the second superseding indictment adequately

states an offense consistent with the statutory language of Section 1512(c)(2). Lastly, the

government agrees that Fischer requires some modification to the bench instructions previously

proposed by the government. See ECF No. 154.

              FACTUAL SUMMARY AND PROCEDURAL BACKGROUND

  I.   Brief Procedural History

       The defendant, Christopher Warnagiris, was arrested in May 2021 for his violent and

obstructive acts during the riot at the U.S. Capitol on January 6, 2021. ECF No. 1. On March 22,

2023, the defendant was indicted in Second Superseding Indictment charging the defendant with,
          Case 1:21-cr-00382-PLF         Document 156       Filed 09/13/24      Page 2 of 19




among eight other offenses, Obstruction of an Official Proceeding and Aiding and Abetting, in

violation of 18 U.S.C. §§ 1512(c)(2) and 2. ECF No. 49. On November 18, 2022, the defendant

filed a motion to dismiss this charge for failure to state an offense and lack of specificity. ECF No.

37 at 1. After extensive briefing, see ECF Nos. 38, 40, 41, 54, and 55, the Court denied the motion,

ECF No. 87. After the Supreme Court granted certiorari in Fischer, the defendant filed a motion

to stay the proceedings pending the disposition of Fischer. ECF No. 103. The Court granted the

motion in part due to scheduling conflicts. Minute Order, December 12, 2023.

          Starting on April 1, 2024, this Court presided over a non-jury trial for all charges against

the defendant. During the trial, the Court noted that it would not issue a verdict on the case until

after the Supreme Court ruled in Fischer and the D.C. Circuit ruled in United States v. Couy

Griffin, 22-3042. See Trial Tr. 4/5/24 61:24-62:2. On June 30, 2024, the defendant filed three

motions related to Fischer on various grounds. ECF Nos. 152, 153, and 154. The government now

responds jointly to all three motions.

    II.   Brief Factual Recitation1

          On January 6, 2021, a joint session of Congress met to certify the Electoral College votes

for the 2020 presidential election. The defendant, who at the time was an active-duty Marine,

pushed his way to the front of the mob at the East Rotunda Doors and fought his way through the

doors becoming one of the first rioters to breach those doors at 2:25 p.m. He then used his strength

and violent force to prevent other police officers inside the building from their attempts to resecure

the doors. One of them, Officer A.W., had to fight with the defendant during the attempt regain

control of the doors. During the encounter, the defendant shoved Officer. A.W. and used his body


1
    Based on the physical evidence and testimony submitted at trial.
                                                 2
      Case 1:21-cr-00382-PLF          Document 156         Filed 09/13/24      Page 3 of 19




weight against the officer and the door to keep the door open. The defendant’s actions enabled a

flood of rioters to enter who then went on to occupy the Capitol Building and stop the

Congressional proceedings. The Senate was forced to recess and evacuate at approximately 2:13

p.m., the Vice President was forced to relocate from his office at approximately 2:25 p.m., and the

House was forced to recess and evacuate at 2:29 p.m.

       After Officer A.W. regained control of the door, the defendant walked the length of the

Rotunda to the Will Rodgers Hallway, which leads directly to the floor the House of

Representative. There, the defendant and other rioters were temporarily stopped by police as

members and staff still remained inside the House floor and gallery. Members and staff were

eventually evacuated from the floor as the line of rioters overran officers and positioned themselves

right outside the final door leading to the House floor. The defendant remained in this crowd for

some time until police directed him back toward the Rotunda. In the Rotunda, the defendant used

his body weight to impede officers’ attempts to clear the Rotunda of rioters. Congress was not able

to reconvene until much later in the day and the votes were not certified until January 7, 2021.

       Text messages on the defendant’s phone revealed his full knowledge of the certification

proceeding set to occur on January 6, 2021 as he and others discussed the election in a group chat.

See Gov’t Ex. 602A. Specifically, in December 2020, the defendant discussed a “competing

electoral slate” as “one of the last constitutional offramps before violence solves the problem for

us.” Id. at 11. The defendant also texted, “These retards better recognize the coming storm that

waits for them if they fail to follow through on their constitutional duties” when discussing whether

or not certain elected officials, including the former Vice President Mike Pence, would be on board

for a competing slate of electors. Id. In other words, the defendant expressed specific intent

                                                 3
       Case 1:21-cr-00382-PLF          Document 156         Filed 09/13/24      Page 4 of 19




regarding a slate of electoral votes – i.e., records, documents, or other things – associated with the

official proceeding.

       Beyond the defendant’s own conduct, the government also admitted extensive evidence to

prove the existence and function of an official proceeding, namely the certification of the Electoral

College votes. This evidence included a montage video, statutes, the relevant portion of the United

States Constitution, and congressional records. Gov’t Exs. 701-711. While there was testimony

from a member of the United States Capitol Police about the disruption of the certification, no

witness testified to any records, documents, or other objects used in the proceeding – specifically,

the presentation, impairment, and/or availability of ballots during the proceeding.

                                           DISCUSSION

  I.   The Court Should Reopen Evidence in Light of the Fischer Decision and Defer Ruling
       on the Defendant’s Renewed Rule 29 Until After Close of Evidence.

       Rather than ruling on the defendant’s renewed motion for judgment of acquittal, ECF No.

153, the government respectfully moves the Court to reopen the evidence to allow the parties to

submit new evidence in response to the Supreme Court’s Fischer decision. Although parties are

typically not allowed to introduce new evidence into the record after they have rested their cases,

caselaw establishes that courts may permit the parties to reopen evidence in certain circumstances.

When weighing a motion to reopen evidence, courts should inquire “whether the party opposing

reopening would be prejudiced if reopening is permitted.” United States v. Trant, 924 F.3d 83, 88

(3d Cir. 2019) (citation omitted). To make this determination, courts look to “whether the opposing

party will have a reasonable opportunity to rebut the moving party’s new evidence” and “whether

granting the motion will cause substantial disruption to the proceedings or result in the new

evidence taking on distorted importance[.]” Id. In addition to the prejudice analysis, courts “should
                                                 4
      Case 1:21-cr-00382-PLF          Document 156         Filed 09/13/24      Page 5 of 19




assess the reasonableness of the moving party’s explanation for failing to introduce the desired

evidence before resting and whether the new evidence is admissible and has probative value.” Id.

While the government is unaware of any D.C. Circuit precedent on the appropriate standard for

motions to reopen evidence in the context of a trial, the prejudice and reasonableness standard

described in Trant is used in at least nine other circuits. Id. at 89 (citing cases); see also United

States v. Watson, 391 F. Supp. 2d 89, 91-92 (D.D.C. 2005) (discussing the same standard for

motions to reopen evidence in suppression hearings).

       Applying this standard here, the government’s motion is reasonable and will not unfairly

prejudice the defendant. First, the government’s motion is reasonable because at the time that this

Court first heard evidence in the case, binding precedent did not require any evidence of

documents, objects, or other things used in an official proceeding to sustain a conviction under

Section 1512(c)(2). United States v. Fischer, 64 F.4th 329, 336-37 (D.C. Cir. 2023), rev’d, 144 S.

Ct. 2176 (2024). Rather, the government needed to prove only that the defendant engaged in some

kind of obstructive act to any aspect of the proceeding. Id. at 337. In light of that precedent, the

government had no reason to introduce evidence to meet the much narrower standard set forth in

Fischer. 144 S. Ct. at 2190. The government also submits that it will seek to introduce evidence

that is admissible and probative to this case. In particular, the government anticipates calling a

congressional witness to discuss the use of paper ballots during the certification proceeding and

the impact that the riot had on the availability of those ballots. The government will argue, among

other things, that the defendant’s actions amounted to an attempt to impair the availability and

integrity of those ballots or that the defendant aided and abetted others to do the same.

       Turning to prejudice against the defendant, if the Court reopens the evidence in this case,

                                                 5
         Case 1:21-cr-00382-PLF         Document 156        Filed 09/13/24      Page 6 of 19




the defendant will have every opportunity to rebut the government’s new evidence through cross-

examination and by calling his own witnesses should he choose to do so. The defendant will also

be able to make additional arguments in summation against the government’s case. Additionally,

reopening the evidence will not disrupt the proceedings because they have been in effect stayed

pending the decision from the Supreme Court in Fischer as well as the decision from the D.C.

Circuit in United States v. Couy Griffin, 22-3042. See Trial Tr. 4/5/24 61:24-62:2. Thus, submitting

new evidence would cause no additional disruption to these proceedings beyond what has already

happened. As for the concern of whether new evidence may receive distorted importance, this

factor only arises in a jury trial where the jurors may view the new evidence differently than what

was originally submitted to them. See, e.g., United States v. Nunez, 432 F.3d 573, 581-82 (4th Cir.

2005). In the context of a bench trial, the Court is certainly capable of giving all evidence its

appropriate weight. Thus, the Court should permit the government to reopen the evidence in this

case.2

         For these reasons, the defendant’s motion for the Court to reconsider its denials of his Rule

29 motions is premature. See ECF No. 153 at 3. The motion seeks to hold the government

responsible for failing to introduce evidence at trial pursuant to a legal instruction that did not

exist. Id.; Fischer, 64 F.4th at 336-37; see also United States v. Reynoso, 38 F.4th 1083, 1091

(D.C. Cir. 2022) (stating “a defendant cannot make out a sufficiency challenge as to offense

elements that the government had no requirement to prove at trial under then-prevailing law.”).

The defendant’s motion is particularly specious given that he previously sought to stay his trial


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  If the Court denies this motion, the government respectfully requests the opportunity to address
the Court further to argue sufficiency of the evidence on the current record before the Court renders
a verdict.
                                                   6
       Case 1:21-cr-00382-PLF          Document 156       Filed 09/13/24      Page 7 of 19




until after the Supreme Court ruled in Fischer. ECF No. 103. The only purpose of such a stay is to

wait for the exact guidance that the Fischer decision provides. For the defendant to now argue that

the government should not be given the opportunity to submit evidence consistent with that

guidance is an attempt to have his cake and eat it too. Thus, the Court should withhold ruling on

the defendant’s renewed Rule 29 motion until after the parties have had the chance to introduce

additional evidence in response to Fischer.

 II.   The Defendant Fails to Show Good Cause for Filing an Untimely Motion to Dismiss.

       The court should deny the defendant’s motion to dismiss because, while a denial would not

significantly prejudice the defendant, the alternative would greatly prejudice the government at

this stage in the proceedings. In general, defendants are required to submit all pretrial motions,

including motions to dismiss on the grounds of a defect in the indictment, in advance of trial. Fed.

R. Crim. P. 12(a)(3)(B). Failure to submit such a motion in advance of trial means the motion

should be treated as untimely. Fed. R. Crim. P. 12(c)(3). The rule applies to both trial courts and

appellate courts. United States v. Bowline, 917 F.3d 1227, 1230-31 (10th Cir. 2019). However,

courts may still consider an untimely motion “if the [moving] party shows good cause” for the

delay. Fed. R. Crim. P. 12(c)(3); United States v. Weather, 186 F.3d 948, 952 (D.C. Cir. 1999)

(citing Davis v. United States, 411 U.S. 233, 242 (1973)). As Weathers explains, “The purpose of

the rule . . . is to compel defendants to object to technical defects in the indictment early enough

to allow the district court . . . to permit the prosecution to accommodate meritorious challenges,

and to do so without disrupting an ongoing trial.” 186 F.3d at 953 (quoting United States v. Harris,

959 F.2d 246, 250 (D.C. Cir. 1992)).

       To show good cause, the moving party must “show both cause and prejudice.” 1 CHARLES

                                                 7
      Case 1:21-cr-00382-PLF          Document 156         Filed 09/13/24      Page 8 of 19




A. WRIGHT, Fed. Prac. & Proc. Crim, § 194 (5th ed.). This standard thus requires inquiry into “the

reason for the defendant’s tardiness and whether he has shown that he is actually prejudiced by the

defect . . . of which he complains.” United States v. Madeoy, 912 F.2d 1486, 1490 (D.C. Cir. 1990).

The fact that the information supporting the motion was not reasonably available during the

motions period would seem to satisfy the good cause standard. See, e.g., United States v. Lamela,

942 F.2d 100, 103-105 (1st Cir. 1991) (considering the defendant’s untimely motion to dismiss on

appeal because the defendant did not have the necessary grand jury transcripts until after trial

began). However, under the good cause standard, courts may inquire into not only the potential

prejudice faced by the moving party if the untimely motion is not accepted, but also the potential

prejudice to the opposing party if the motion is accepted. See United States v. Salahuddin, 509

F.3d 858, 862 (7th Cir. 2007).

       In Salahuddin, the defendant withdrew his earlier guilty plea after both parties realized that

a prior conviction could subject him to heightened penalties not previously contemplated. Id. at

861. After the case returned to the trial track, the defendant filed pretrial motions to suppress

evidence and statements. Id. at 860. The date of the filing, however, was after the deadline for

pretrial motions set by the court before the defendant entered his guilty plea. Id. at 859-60. As a

result, the court deemed the motions untimely and declined to entertain them. Id. at 860. As part

of its analysis holding that the district court abused its discretion to not hear the motions, the

Seventh Circuit noted that the purpose of the good cause rule was to ensure “the speed and

efficiency of the judicial process [and] fairness to the Government.” Id. at 862.3 With this purpose


3
  This opinion discusses the purpose of Rule 12(e), rather than Rule 12(c)(3). See Salahuddin, 509
F.3d at 862. As of today, Rule 12(e) is listed as “reserved.” Fed. R. Crim. P. 12(e). However, when
the Seventh Circuit issued its opinion in Salahuddin, Rule 12(e) was the untimely motion
                                                   8
      Case 1:21-cr-00382-PLF           Document 156        Filed 09/13/24       Page 9 of 19




in mind, the court held that considering the untimely motion would not controvert this purpose

because, if the evidence was suppressed, the government could appeal that decision as jeopardy

had not attached. Id. at 862-63.

       Applying the good cause standard here, the defendant fails to meet his burden. To be clear,

the government recognizes that the first prong of the good cause standard weighs in the defendant’s

favor. As with the government’s motion to reopen the evidence, the defendant did not have the

caselaw necessary to file the motion to dismiss prior to trial. See Lamela, 942 F.2d at 103-105. As

to prejudice, however, the defendant’s argument fails. This court first heard evidence in this trial

on April 1, 2024. At that moment, jeopardy attached to all charges in this case, including the charge

that the defendant now seeks to dismiss. United States v. Martin Linen Supply Co., 430 U.S. 564,

569 (1977). As a result, the government lacks the ability to respond in the standard way to a motion

to dismiss an indictment—by seeking a superseding indictment that fixes the alleged technical

failure. Weathers, 186 F.3d at 953. In addition, if the court were to grant the defendant’s motion

to dismiss at this stage, the government would lack any recourse to appeal. See Lee v. United

States, 432 U.S. 23, 30 (1977) (“Where a midtrial dismissal is granted on the ground, correct or

not, that the defendant simply cannot be convicted of the offense charged . . . further prosecution

is barred by the Double Jeopardy Clause.”); compare Salahuddin, 509 F.3d at 862-63. By contrast,

the defendant faces little prejudice because he can still argue, as he has in Rule 29 motion, that the

government failed to prove the elements of the offense as set forth in Fischer. ECF No. 153.4 Then,


provision. This provision was moved to Rule 12(c)(3) as part of the 2014 amendments to the rule.
Fed. R. Crim. P. 12.
4
  In addition, unlike cases where prejudice could lie when a defendant unnecessarily faces trial on
a defective indictment, this defendant has already gone through the trial in this case, excepting the
additional evidence that the government seeks to admit. Thus, there is little if any prejudice on
                                                 9
       Case 1:21-cr-00382-PLF        Document 156        Filed 09/13/24      Page 10 of 19




if this Court is unpersuaded by his argument and convicts the defendant of the offense, he can

pursue both his motion to dismiss and the sufficiency argument on appeal. United States v. Dennis,

41 F.4th 732, 740 (5th Cir. 2022) (“When a pretrial motion is denied as untimely, [courts] review

the denial of the motion for plain error.”). Because the defendant has these avenues available to

him to challenge any verdict or conviction even if the Court denies his untimely motion, the

defendant cannot meet his burden to show prejudice under the good cause standard. This

conclusion is further bolstered by the significant prejudice the government faces if the motion is

accepted at this point in the proceedings. Thus, the Court should deny the defendant’s motion as

untimely.

III.    If the Court Considers the Defendant’s Motion to Dismiss, the Motion Should be
        Denied Because the Indictment Adequately States an Offense.

        If the Court decides to hear the defendant’s motion to dismiss, the Court should still deny

the motion on the merits. This Court already thoroughly explained the standard of review for

motions to dismiss in its order denying the defendant’s previous motion on similar grounds. See

ECF No. 87 at 5-6. The defendant now argues the indictment is deficient because it fails to

reference “records, documents, objects, or . . . other things used in” the official proceeding. ECF

No. 152 at 1 (citing Fischer, 144 S.Ct. at 2190). However, the second superseding indictment

alleges that the defendant committed the offense using the exact same linguistic structure as the

relevant statute, which provides notice of the exact crime for which the defendant is charged. ECF

No. 49 at 2 (alleging that the defendant “attempted to, and did, corruptly obstruct, influence, and

impede an official proceeding[.]; compare 18 U.S.C. § 1512(c)(2) (“Whoever corruptly . . .



those grounds either.
                                                10
      Case 1:21-cr-00382-PLF         Document 156        Filed 09/13/24      Page 11 of 19




obstructs, influences, or impedes any official proceeding[.]”). Indeed, the Court already rejected

this same argument for the same reason when it denied the defendant’s first motion to dismiss.

ECF No. 87 at 11-13. Further, the Supreme Court in Fischer did not step into the shoes of Congress

and modify the statutory language of the offense as the defendant seems to suggest. Rather, the

Court only clarified the way one must obstruct, influence, or impede an official proceeding to be

liable under Section 1512(c)(2). Therefore, the second superseding indictment adequately states

an offense and the defendant’s motion to dismiss should be denied.

IV.    In Light of the Supreme Court’s Fischer Decision, the Government Agrees that the
       Bench Instructions Should be Modified.

       In December 2023, the government provided the Court with a number of objections to a

set of jury instructions used by this Court and other judges in this district. ECF No. 100. Upon

review of the Supreme Court’s decision in Fischer, 144 S.Ct. 2176, the government agrees that

some modifications are warranted to the previous instruction for the offense of obstruction of an

official proceeding and aiding and abetting, in violation of 18 U.S.C. §§ 1512(c)(2) and 2. See

ECF No. 154 (Defendant’s Motion to Modify Bench Instructions). As the government’s previous

filing was a series of objections to other jury instructions, see ECF No. 100, rather than a set of

complete instructions, the government includes its entire proposed instruction for the sake of

simplicity.

              COUNT TWO: OBSTRUCTION OF AN OFFICIAL PROCEEDING

        Count Two of the Second Superseding Indictment charges the defendant with corruptly

obstructing an official proceeding and attempting to do so, which is a violation of 18 U.S.C.

§ 1512(c)(2).

        Count Two also charges the defendant with aiding and abetting others to commit that
                                           11
      Case 1:21-cr-00382-PLF          Document 156         Filed 09/13/24     Page 12 of 19




offense.

                                             Elements

       In order to find the defendant guilty of this offense, the Court must find that the government

proved each of the following elements beyond a reasonable doubt:

               •   First, the defendant committed or attempted to commit an act that impaired the

                   integrity of or rendered unavailable records, documents, or other things to be

                   used in an official proceeding;

               •   Second, the defendant intended to impair the integrity of or render unavailable

                   such records, documents, objects, or other things to be used in an official

                   proceeding; and,

               •   Third, the defendant acted corruptly.

                                            Definitions

       Congress’s Joint Session to certify the Electoral College vote on January 6, 2021, was an

“official proceeding” as that term is used in this count.5 The official proceeding need not be

pending or about to be instituted at the time of the offense. If the official proceeding was not

pending or about to be instituted, the government must prove beyond a reasonable doubt that the

official proceeding was reasonably foreseeable to the defendant.6


       5
           Fischer, 64 F.4th at 342 (D.C. Cir. 2023) (affirming district court’s holding “that
congressional certification of the Electoral College count is an ‘official proceeding’” for purposes
of § 1512(c)(2)). See also 18 U.S.C. § 1515(a)(1)(B) (defining “official proceeding” to include “a
proceeding before the Congress”).
        6
          18 U.S.C. § 1512(f)(1) (“For the purposes of this section—(1) an official proceeding need
not be pending or about to be instituted at the time of the offense”). For the nexus requirement
(that the official proceeding need be reasonably foreseeable), see United States v. Sandlin, 575 F.
Supp. 3d 16, 32 (D.D.C. 2021); United States v. Aguilar, 515 U.S. 593, 599-600 (1995). For other
January 6 trials that have used a similar instruction, see, e.g., United States v. Reffitt, 21-cr-32
                                                 12
      Case 1:21-cr-00382-PLF          Document 156         Filed 09/13/24      Page 13 of 19




       To act “corruptly,” the defendant must use independently unlawful means or act with an

unlawful purpose, or both.7 The defendant must also act with “consciousness of wrongdoing.”

“Consciousness of wrongdoing” means with an understanding or awareness that what the person

is doing is wrong or unlawful.

       Not all attempts to obstruct or impede an official proceeding involve acting corruptly. For

example, a witness in a court proceeding may refuse to testify by invoking his or her constitutional

privilege against self-incrimination, thereby obstructing or impeding the proceeding, but that

person does not act corruptly. In contrast, an individual who obstructs or impedes a court

proceeding by bribing a witness to refuse to testify in that proceeding, or by engaging in other




(DLF) (ECF No. 119 at 25-26); United States v. Robertson, 21-cr-34 (CRC) (ECF No. 86 at 12),
affirmed at 86 F.4th 355 (D.C. Cir. 2023); United States v. Thompson, 21-cr-161 (RBW) (ECF
No. 832 at 26); United States v. Williams, 21-cr-377 (BAH) (ECF No. 112 at 7); and United States
v. Thomas, 21-cr-552 (DLF) (ECF No. 150 at 23).
        7
          In United States v. Robertson, 86 F.4th 355 (D.C. Cir. 2023), the district court adopted a
jury instruction that largely mirrored this proposed definition of “corruptly.” Id. at 362. On appeal,
the D.C. Circuit stated: “[T]he district court correctly informed the jury that it could find that
Robertson acted ‘corruptly’ if the government proved that he ‘use[d] [independently] unlawful
means’ when he obstructed, impeded, or influenced the Electoral College vote certification. . . .
Defining ‘corruptly’ as ‘wrongfully’ — and treating independently unlawful conduct as ‘wrongful’
— provides an objective measure of culpable conduct that is straightforward to apply: A court or
a jury can easily determine whether the evidence shows that a defendant took unlawful action to
obstruct, impede, or influence the proceeding.” Id. at 369.
                                                  13
      Case 1:21-cr-00382-PLF          Document 156        Filed 09/13/24      Page 14 of 19




independently unlawful conduct, does act corruptly.8 One way of acting corruptly involves acting

with the intent to secure an unlawful advantage or benefit either for oneself or for another person.9

       While the defendant must act with intent to obstruct the official proceeding, this need not

be his sole purpose. A defendant’s unlawful intent to obstruct an official proceeding is not negated

by the simultaneous presence of another purpose for their conduct.10




       8
           The William J. Bauer Pattern Criminal Jury Instructions of the Seventh Circuit; Arthur
Andersen LLP v. United States, 544 U.S. 696, 706 (2005); United States v. Gordon, 710 F.3d 1124,
1151 (10th Cir. 2013); United States v. Friske, 640 F.3d 1288, 1291 (11th Cir. 2011); United States
v. Watters, 717 F.3d 733, 735 (9th Cir. 2013); United States v. North, 910 F.2d 843, 883 (D.C. Cir.
1990), withdrawn and superseded in part by United States v. North, 920 F.2d 940 (D.C. Cir. 1990);
United States v. Sandlin, 575 F. Supp. 3d 16, 32 (D.D.C. 2021); United States v. Caldwell, 581 F.
Supp. 3d 1, 19-20 (D.D.C. 2021); United States v. Mostofsky, 579 F. Supp. 3d 9, 26 (D.D.C. 2021);
United States v. Montgomery, 578 F. Supp. 3d 54, 82 (D.D.C. 2021); United States v. Lonich, 23
F.4th 881, 902-03 (9th Cir. 2022). For other January 6 trials that have used similar instructions,
see, e.g., United States v. Williams, 21-cr-377 (BAH) (ECF No. 112 at 7), United States v. Reffitt,
21-cr-32 (DLF) (ECF No. 119 at 25-29), and United States v. Kelly, 21-cr-708 (RCL) (ECF No.
101 at 10).
        9
          “[T]here are many ways to prove ‘corruptly[,]’” United States v. Robertson, 86 F.4th 355,
373 n.8 (D.C. Cir. 2023); this is merely one way. See id. at 374 (“Acting ‘dishonestly’ would be
consistent with the ordinary meaning of acting ‘corruptly.’ . . . Likewise, a defendant’s obstructive
conduct may often seek to secure an unlawful benefit for himself or another, such as preventing
negative testimony at a trial.”). This formulation, which Robertson found was not required but
which incorporates aspects of the lead and concurring opinions in United States v. Fischer, 64
F.4th 329, 340 (D.C. Cir. 2023) (opinion of Pan, J.), cert. granted, No. 23-5572, 2023 WL 8605748
(U.S. Dec. 13, 2023); id. at 352 (Walker, J., concurring), overruled on other grounds, 144 S. Ct.
2176 (2024), was provided in United States v. Nordean, et al, 21-cr-175 (TJK) (ECF No. 767 at
31-32), United States v. Kelly, 21-cr-708 (RCL) (ECF No. 101 at 10), United States v. Thomas,
21-cr-552 (DLF) (ECF No. 150 at 24), United States v. Fellows, 21-cr-83 (TNM) (ECF No. 140
at 27), and United States v. Alam, 21-cr-190 (DLF) (ECF No. 104 at 28).
        10
           United States v. Carpenter, 21-cr-305 (JEB) (ECF No. 97 at 11); United States v. Kelly,
21-cr-708 (RCL) (ECF No. 101 at 10); United States v. Fellows, 21-cr-83 (TNM) (ECF No. 140
at 27); United States v. Alam, 21-cr-190 (DLF) (ECF No. 104 at 29).
                                                 14
      Case 1:21-cr-00382-PLF          Document 156        Filed 09/13/24      Page 15 of 19




Attempt

       In order to find the defendant guilty of attempt to commit obstruction of an official

proceeding, the Court must find that the government proved beyond a reasonable doubt each of

the following elements:

                •   First, that the defendant intended to commit the crime of obstruction of an

                    official proceeding, as the Court defined that offense above; and,

                •   Second, that the defendant took a substantial step toward committing

                    obstruction of an official proceeding which strongly corroborates or confirms

                    that the defendant intended to commit that crime.

       With respect to the first element of attempt, the Court may not find the defendant guilty of

attempt to commit obstruction of an official proceeding merely because the defendant thought

about it. The Court must find that the evidence proved beyond a reasonable doubt that the

defendant’s mental state passed beyond the stage of thinking about the crime to actually intending

to commit it.

       With respect to the substantial step element, the Court may not find the defendant guilty of

attempt to commit obstruction of an official proceeding merely because the defendant made some

plans to or some preparation for committing that crime. Instead, the Court must find that the

defendant took some firm, clear, undeniable action to accomplish his intent to commit obstruction

of an official proceeding. However, the substantial step element does not require the government

to prove that the defendant did everything except the last act necessary to complete the crime.

       A defendant may be found guilty of the offense charged in Count Two if the defendant

committed obstruction of an official proceeding, or attempted to commit obstruction of an official

                                                 15
       Case 1:21-cr-00382-PLF        Document 156         Filed 09/13/24     Page 16 of 19




proceeding. Each of these two ways of committing the offense is described in the instructions. If

the Court finds beyond a reasonable doubt that the defendant committed the offense of obstruction

of an official proceeding in either one of these ways, the Court should find the defendant guilty of

Count Two.

Aiding and Abetting11

        In this case, the government further alleges that the defendant committed Count Two by

aiding and abetting others in committing this offense. This is not a separate offense but merely

another way in which the government alleges that the defendant committed this offense in Count

Two.

        A person may be guilty of an offense if he aided and abetted another person in committing

the offense. A person who has aided and abetted another person in committing an offense is often

called an accomplice. The person whom the accomplice aids and abets is known as the principal.

It is not necessary that all the people who committed the crime be caught or identified. It is

sufficient if the Court finds beyond a reasonable doubt that the crime was committed by someone

and that the defendant knowingly and intentionally aided and abetted that person in committing

the crime.

        In order to find the defendant guilty of Count Two because the defendant aided and abetted

others in committing the offense, the Court must find that the government proved beyond a

reasonable doubt the following elements:




        11
          18 U.S.C. § 2(a); Third Circuit Model Jury Instructions 7.02. See United States v.
Fellows, 21-cr-83 (TNM) (ECF No. 140 at 29-31); United States v. McAbee, 21-cr-35 (RC) (ECF
No. 376, at 21-25).
                                            16
      Case 1:21-cr-00382-PLF          Document 156         Filed 09/13/24      Page 17 of 19




               •   First, that others committed the offense by committing each of the elements of

                   the offense charged, as explained above;

               •   Second, that the defendant knew that the specified offense was going to be

                   committed or was being committed by others;

               •   Third, that the defendant performed an act or acts in furtherance of the specified

                   offense;

               •   Fourth, that the defendant knowingly performed that act or acts for the purpose

                   of aiding, assisting, soliciting, facilitating, or encouraging others in committing

                   the specified offense; and,

               •   Fifth, that the defendant did that act or acts with the intent that others commit

                   the specified offense.

       To show that the defendant performed an act or acts in furtherance of the offense charged,

the government must prove some affirmative participation by the defendant which at least

encouraged others to commit the offense. That is, the Court must find that the defendant’s act or

acts did, in some way, aid, assist, facilitate, or encourage others to commit the offense. The

defendant’s act or acts need not further aid, assist, facilitate, or encourage every part or phase of

the offense charged; it is enough if the defendant’s act or acts further aided, assisted, facilitated,

or encouraged only one or some parts or phases of the offense. Also, the defendant’s acts need not

themselves be against the law.

       In deciding whether the defendant had the required knowledge and intent to satisfy the

fourth requirement for aiding and abetting, the Court may consider both direct and circumstantial

evidence, including the defendant’s words and actions and other facts and circumstances.

                                                 17
      Case 1:21-cr-00382-PLF          Document 156         Filed 09/13/24      Page 18 of 19




However, evidence that the defendant merely associated with persons involved in a criminal

venture or was merely present or was merely a knowing spectator during the commission of the

offense is not enough for the Court to find the defendant guilty as an aider and abettor. If the

evidence shows that the defendant knew that the offense was being committed or was about to be

committed, but does not also prove beyond a reasonable doubt that it was the defendant’s intent

and purpose to aid, assist, encourage, facilitate, or otherwise associate the defendant with the

offense, the Court may not find the defendant guilty of the specified offense as an aider and abettor.

The government must prove beyond a reasonable doubt that the defendant in some way

participated in the offense committed by others as something the defendant wished to bring about

and to make succeed.

                                          CONCLUSION

       For the reasons stated above, the government respectfully requests that the Court reopen

evidence in this case, deny the defendant’s motion to dismiss Count Two of the second superseding

indictment, and adopt the government’s proposed bench instruction for the same count.

                                               Respectfully submitted,

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                                                 18
Case 1:21-cr-00382-PLF   Document 156   Filed 09/13/24   Page 19 of 19




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                                19
